618 F.2d 1078
    14 ERC 1575, 10 Envtl. L. Rep. 20,291
    CONTINUED ACTION ON TRANSPORTATION AND ENVIRONMENT, INC., Appellant,v.Brock ADAMS, Secretary of the United States Department ofTransportation, Harold C. King, Virginia StateHighway Commissioner, and VirginiaDepartment of Highways andTransportation, Appellees.
    No. 79-1343.
    United States Court of Appeals,Fourth Circuit.
    Argued Jan. 10, 1980.Decided April 11, 1980.
    
      Richard E. Crouch, Arlington, Va.  (David R. Rosenfeld, Alexandria, Va., on brief), for appellant.
      David C. Shilton, Washington, D. C., Walter A. McFarlane, Deputy Atty. Gen., Richmond, Va.  (Marshall Coleman, Atty. Gen., John J. Beall, Jr., D. Brian Costello, John M. McCarthy, Debra J. Prillaman, Asst. Attys. Gen., Richmond, Va., James W. Moorman, Asst. Atty. Gen., Robert L. Klarquist and Judith Welch Wegner, Dept. of Justice, Washington, D. C., on brief), for appellees.
      Before BUTZNER and WIDENER, Circuit Judges, and ROBERT J. STAKER, United States District Judge for the Southern District of West Virginia, sitting by designation.
      PER CURIAM:
    
    
      1
      Continued Action on Transportation and Environment, Inc., a Virginia citizens' group, appeals from an adverse judgment of the district court on its request for an injunction and other equitable relief designed to stop alleged illegal construction of Highway I-66.
    
    
      2
      The complaint alleged several causes of action based on various contracts, federal law, and constitutional provisions.  Underlying all of these allegations is the claim that I-66 is being constructed in violation of the special restrictions imposed by the Secretary of Transportation in the administrative proceedings required by Arlington Coalition on Transportation v. Volpe, 458 F.2d 1323 (4th Cir. 1972).1  After an extensive evidentiary hearing, the district court found that the highway was being constructed in accordance with the Secretary's decision.2
    
    
      3
      The court's factual findings are amply supported by the record, and its conclusions reflect a correct understanding of the law.  We find no cause for reversal in the numerous assignments of error.
    
    
      4
      AFFIRMED.
    
    
      
        1
         See also District of Columbia Federation of Civic Associations v. Adams, 571 F.2d 1310 (4th Cir. 1978)
      
      
        2
         The Secretary's Decision on Interstate Highway 66, Fairfax and Arlington Counties, Virginia, at 8, 9, 58 (Jan. 5. 1977), contained eight conditions.  At issue in this case are the following:
        Not construct any highway lanes in the I-66 right-of-way beyond the four which I am now approving;
        Include the design elements and other features intended to minimize and compensate for adverse social and environmental impacts of the highway as set forth in the Final Four Lane Supplemental EIS, and this document, including specifically those set forth in Section V of this document (in other words, so far as possible, construction should be similar to the George Washington Parkway);
        The highway has been reduced from eight lanes, as originally proposed, to four lanes.  The highway will be designed so that all bridges and overpasses will accommodate four lanes of traffic, and "no provision is included that would facilitate future widening" of the roadway.
      
    
    